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 4

 5 Attorney for Defendant
   OMAR NUNO
 6

 7

 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                         EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                      CASE NO. 2:13-CR-0227 GEB
12                                         Plaintiff,               STIPULATION REGARDING
                                                                    CONTINUANCE OF STATUS
13   v.                                                             CONFERENCE; [PROPOSED]
                                                                    FINDINGS AND ORDER
14   FRANCISCO ARRELLANEZ, et al.,
15                                         Defendants.
16

17             Defendant, OMAR NUNO, by and through his counsel of record, TONI WHITE, and the

18 GOVERNMENT hereby stipulate as follows:

19             1.        By previous order, this matter was set for status on March 4, 2016.

20             2.        By this stipulation, all of the undersigned defendants now move to continue the status

21 conference until April 15, 2016, and to exclude time between March 4, 2016 and April 15, 2016

22 under Local Code T4. The GOVERNMENT does not oppose this request.

23             3.        The parties agree and stipulate, and request that the Court find the following:

24                       a.        Defendant Omar Nuno was added to this case in December of 2015 and his

25 counsel is in the process of reviewing discovery and getting up to speed in the case. In addition, the
26 undersigned defense counsel continue to need time to review discovery, continue to conduct

27 investigation, and to otherwise prepare for trial, or alternatively, resolution by way of written plea

28 agreement.
                                                                1
29        Stipulation and [Proposed] Order for Continuance of
          Status Hearing and for Exclusion of Time
30
               Case 2:13-cr-00227-DAD Document 134 Filed 03/03/16 Page 2 of 4



 1                     b.        Counsel for defendants believe that failure to grant the above-requested

 2 continuance would deny them the reasonable time necessary for effective preparation, taking into

 3 account the exercise of due diligence.

 4                     c.        The GOVERNMENT does not object to the continuance.

 5                     d.        The GOVERNMENT and counsel for the defendants are working toward

 6 resolution of the case.

 7                     g.        Based on the above-stated findings, the ends of justice served by continuing

 8 the case as requested outweigh the interest of the public and the defendants in a trial within the
 9 original date prescribed by the Speedy Trial Act.

10                     g.        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

11 § 3161, et seq., within which trial must commence, the time period of March 4, 2016 and April 15,

12 2016 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

13 because it results from a continuance granted by the Court at defendants’ request on the basis of the

14 Court’s finding that the ends of justice served by taking such action outweigh the best interest of the

15 public and the defendant in a speedy trial.

16           4.        Nothing in this stipulation and order shall preclude a finding that other provisions of

17 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

18 a trial must commence.

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29      Stipulation and [Proposed] Order for Continuance of
        Status Hearing and for Exclusion of Time
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            Case 2:13-cr-00227-DAD Document 134 Filed 03/03/16 Page 3 of 4



 1        IT IS SO STIPULATED.

 2        Dated: March 2, 2016                                   BENJAMIN B. WAGNER
                                                                 United States Attorney
 3
                                                                 By:    /s/ Toni White for
 4
                                                                 TODD PICKLES
 5                                                               Assistant U.S. Attorney

 6                                                               For the United States
 7
          Dated: March 2, 2016                                   By:  /s/ Toni White _
 8                                                               DINA SANTOS
 9
                                                                 For the Defendant
10                                                               Jovanny Arellanes

11        Dated: March 2, 2016                                   By:  /s/ Toni White _
                                                                 TIMOTHY E. WARRINER
12
                                                                 For the Defendant
13
                                                                 Francisco Arrellanez
14
          Dated: March 2, 2016                                   By:  /s/ Toni White _
15                                                               RICHARD DUDEK

16                                                               For the Defendant
                                                                 Efrain Padilla Pena
17
          Dated: March 2, 2016                                   By:  /s/ Toni White _
18
                                                                 TONI WHITE
19
                                                                 For the Defendant
20                                                               Omar Nuno
21

22

23                                                         ORDER

24        IT IS SO FOUND AND ORDERED.

25        Dated: March 3, 2016

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29   Stipulation and [Proposed] Order for Continuance of
     Status Hearing and for Exclusion of Time
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29   Stipulation and [Proposed] Order for Continuance of
     Status Hearing and for Exclusion of Time
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